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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE               )
 OF THE NAACP, et al.,                       )
                                             ) Civil Action No.: 1:22-cv-00339
               Plaintiffs,                   )
                                             )
        v.                                   ) Judge Susan P. Baxter
                                             )
 LEIGH M. CHAPMAN, et al.,                   )
                                             )
               Defendants.                   )


                                  [PROPOSED] ORDER

       AND NOW, this ____ day of December, 2023, upon consideration of Intervenor-

Defendants’ Motion for a Stay Pending Appeal, it is hereby ORDERED, ADJUDGED,

and DECREED that the Motion is GRANTED. The Court’s declaration and judgment that

failure to count undated or misdated absentee or mail-in ballots violates 52 U.S.C. § 10101(a)

(2)(B) are hereby STAYED pending the resolution of all appeals.



                                                  ___________________________________
                                                  Honorable Susan P. Baxter
                                                  United States District Judge




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